           Case 2:20-cr-00151-ODW Document 21-1 Filed 04/24/20 Page 1 of 7 Page ID #:52
Jessie Debora
Continuity of Care Document, generated on Apr. 16, 2020


  Patient Demographics - Male; bom Mar. zs, 1993
  Patient Address               Communication               Language             Race / Ethnicity            Marital Status
  15801 FALLEN LEAF RD          562-568-6838(Home)          English - Spoken     Unknown / Unknown           Single/Never Married
  LAPUENTE, CA 91744-           562-568-6838 (Mobile)       (Preferred)
  4566                          562-568-6838                English - Written
                                Km.debora@icloud.com        (Preferred)


  Note from Kaiser Permanente Southern California
  This document contains information that was shared with Jessie Debora. It may not contain the entire record from Kaiser Permanente
  Southern California.


  Encounters - from 09/01/2019 to 04/16/2020
  Date                                             Specialty                              Care Team

  01/29/2020          Office Visit                 Family Practice                        Gallegos, Valerie Merry (M.D.), M.D.
  12/12/2019          Office Visit                 Family Practice                        Liu, Sandy Cheerou (P.A.), P.A.
  09/05/2019          Office Visit                 Family Practice                        Goharbin, Amir (M.D.), M.D.
  09/04/2019          Office Visit                 Urgent Care                           Aguiluz Dubon, Allan Mauricio (M.D.), M.D.

  Allergies - from 09/01/2019 to 04/16/2020
  No Known Allergies
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   Social History -from09/01/2019to04/16/2020
   Smoking Status as of 01/29/2020
   Tobacco Use                      Types                          Packs/Day      Years Used   Date
    Never Smoker
   Smokeless Tobacco: Never Used


H Smoking Status as of 09/04/2019
B Tobacco Use                       Types                          Packs/Day      Years Used   Date
H Never Smoker
H Smokeless Tobacco: Never Usec

I Alcohol Use as of 01/29/2020
1 Alcohol Use                       Drinks/Week                    oz/Week
■ Yes                               3 Shots of liquor              1.8


1 Substance Use as of 01/29/2020
1 Substance Use                     Types                          Use/Week
■ Yes                               Cannabis - Smoke               2


■ Sex Assigned at Birth             Date Recorded
1 Not on file
1 Job Start Date                    Occupation                     Industry
H Not on file                       Not on file                    Not on file


1 Travel History                                                   Travel Start                Travel End

B No recent travel history available.
^ Last Filed Vital Signs -         from 09/01/2019 to 04/16/2020
B Vital Sign                        Reading                        Time Taken                  Comments
B Blood Pressure                    132/79                         01/29/2020 2:20 PM PST
                                    95                             01/29/2020 2:20 PM PST
B Temperature                       37.3 "C (99.2 "F)              01/29/2020 2:20 PM PST                       ..   .




B Respiratory Rate
B Oxygen Saturation                 95%                            01/29/2020 2:20 PM PST
B Inhaled Oxygen Concentration
B Weight                            112.9 kg (248 lb 14.4 oz)      01/29/2020 2:20 PM PST
                                    170.2 cm (5" 7")               01/29/2020 2:20 PM PST
B Body Mass Index                   38.98                          01/29/2020 2:20 PM PST


   Plan of Treatment - from 09/01/2019 to 04/10/2020
   Not on file


   Results - from 09/01/2019 to 04/16/2020
   Not on file


   Visit Diagnoses - from 09/01/2019 to 04/10/2020
   Diagnosis                                                                                   Start Date
   VACCINATION FOR INFLUENZA                                                                   9/4/2019     i
   BRONCHITIS                                                                                  9/4/2019
   RIGHT OTITIS MEDIA                                                                          12/12/2019
 i VACCINATION FOR DIPHTHERIA, TETANUS AND ACELLULAR PERTUSSIS(DTAP)                           12/12/2019
   UPPER RESPIRATORY TRACT INFECTION (URI)                                                     1/29/2020
        Case 2:20-cr-00151-ODW Document 21-1 Filed 04/24/20 Page 3 of 7 Page ID #:54
Jessie Debora
Summary of Care, generated on Apr. 16, 2020


  Patient Demographics - Male; bom Mar. 28,1993
  Patient Address              Communication               Language                   Race / Ethnicity                Marital Status
  15801 FALLEN LEAF RD         562-568-6838(Home)          English - Spoken           Unknown / Unknown               Single/Never Married
  LAPUENTE, CA 91744-          562-568-6838 (Mobile)      (Preferred)
  4566                         562-568-6838                English - Written
                               Km.debora@icloud.com       (Preferred)

  Note from Kaiser Permanente Southern California
  This document contains information that was shared with Jessie Debora. It may not contain the entire record from Kaiser Permanente
  Southern California.


  Encounter Details
  Date               Type                         Department                                  Care Team
  09/04/2019         Office Visit                 URGENT CARE                                 Aguiluz Dubon, Allan Maurklo (M.D.)/
                                                  1011 BALDWIN PARKBLVD                       M.D.
                                                  BALDWIN PARK, CA 91706-5806                 1550 TOWN CENTER DR
                                                 833-574-2273                                 MONTEBELLO, CA 90640-2173


  Allergies - documented as of this encounter (statuses as of 04/16/2020)
  No Known Allergies

  Medications - documented as of this encounter (statuses as of 04/15/2020)
  Medication                         Sig                              Dispensed                      Start Date       End Date     Status
1 Albuterol                          Use 1 vial via nebulizer every   75                             09/04/2019 01/29/2020 Discontinued
  (PROVENTIL/VENTOLIN) 2.5 mg        4 hours as needed for
  /3 mL (0.083 %)Inhl Neb Soln       shortness of breath or
                                     wheezing
1 Codeine-guaiFENesin                1 TSP (5 ML) PO Q5H PRN          118                            09/04/2019 09/04/2019 Discontinued
  (GUAIFENESIN AC) 10-100            COUGH                                                                                         (Duplicate
1 mg/5 mL Oral Liqd                                                                                                                Therapy)
  Azithromycin (ZITHROMAX) 250 Take 2 tablets by mouth on             6                              09/04/2019 10/04/2019 Expired
  mg Oral Tab                  Day 1, then 1 tablet daily on
                               Days 2 through 5
1 Ibuprofen (MOTRIN)600 mg           Take 1 tablet by mouth every     30                             09/04/2019 12/12/2019 Discontinued
j Oral Tab                           8 hours as needed for pain .
                                     Take with food


I Hospital, Clinic, or Other Facility
I Administered Medication             Ordered   Dose   Route              Frequency                      Start Date     End Date       Status
  Albuterol 2.5 mg /3 mL (0.083 2.5 mg                 NEBULIZATION ONETIME                              09/04/2019 09/04/2019 Ended
  %) Neb Soln 2.5 mg
  (PROVENTIL/VENTOLIN)


  Active Problems - documented as of this encounter (statuses as of 04/16/2020)
  No known active problems
           Case 2:20-cr-00151-ODW Document 21-1 Filed 04/24/20 Page 4 of 7 Page ID #:55
Ordered Prescriptions - documented in this encounter
Prescription                      Sig                                Dispensed                      Start Date      End Date
Ibuprofen (MOTRIN)600 mg          Take 1 tablet by mouth every 8     30                             09/04/2019      12/12/2019
Oral Tab                          hours as needed for pain . Take
                                  with food
Azithromycin (ZITHROMAX)250 Take 2 tablets by mouth on Day 6                                        09/04/2019      10/04/2019
mg Oral Tab                 1, then 1 tablet daily on Days 2
                            through 5
Codeine-gualFENesin          1 TSP (5 ML) PC Q6H PRN                 118                            09/04/2019      09/04/2019
(GUAIFENESIN AC) 10-100 mg/5 COUGH
ml Oral Liqd
Albuterol                         Use 1 vial via nebulizer every 4   75                             09/04/2019      01/29/2020
(PROVENTIL/VENTOLIN) 2.5 mg       hours as needed for shortness
/3 ml(0.083 %)Inhl Neb Soln       of breath or wheezing

Progress Notes - documented in this encounter
Aguiluz Dubon, Allan Mauricio (M.D.), M.D. - 09/04/2019 7:56 PM PDT
Formatting of this note might be different from the original.
SUBJECTIVE: Jessie Debora is a 26 year old male
Chief Complaint
Patient presents with
• COUGH
headache x 1 day

Other complaints:
Complains of sore throat, low grade fever, non productive cough, wheezing, chest pain when coughing, shortness of breath and
achiness for 1 days.

Patient denies a history of chills, nausea, shortness of breath, vomiting, wheezing.

Not taking any medications.

ACTIVE PROBLEM LIST:
Negative Past Medical History

ALLERGIES: Patient has no known allergies.

CURRENT MEDICATIONS:
Outpatient Medications Marked as Taking for the 9/4/19 encounter (Office Visit) with Aguiluz Dubon, Allan Mauricio (M.D.), M.D.
Medication Sig
• Albuterol (PROVENTIL/VENTOLIN)2.5 mg /3 mL(0.083 %)Inhl Neb Soln Use 1 vial via nebulizer every 4 hours as needed for
shortness of breath or wheezing
• Azithromycin (ZITHROMAX)250 mg Oral Tab Take 2 tablets by mouth on Day 1, then 1 tablet daily on Days 2 through 5
• Ibuprofen (MOTRIN)600 mg Oral Tab Take 1 tablet by mouth every 8 hours as needed for pain . Take with food

REVIEW OF SYSTEMS:
Constitutional; Negative for chills and malaise/fatigue..
Cardiovascular: Negative for chest pain, palpitations
Respiratory: + shortness of breath, + wheezing. + cough.
Gastrointestinal: Negative for nausea, vomiting
Skin: Negative for pruritus, rash.
Neurological: Negative for dizziness, headaches

OBJECTIVE:
BP 134/85 I Pulse 95
                  |  Temp 99.9 °F (37.7'C)(Oral)
                                               |Wt 220 lb (99.8 kg)
                                                                  | Sp02 96%

Physical Exam:
Constitutional: Oriented to person, place, and time. Patient appears well-developed and well-nourished. No acute distress.
HEENT: no congestion of nasal turbinates. Oropharynx:+ erythema. No tonsillar hypertrophy. Tympanic membrane clear, intact.
Neck: Normal range of motion. Neck supple. No Lymphadenopathy.
Cardiovascular: Normal rate, regular rhythm. Exam reveals no murmurs
Pulmonary/Chest: Effort normal. Breath sounds normal. No rales. Scattered rhonchi. + bilateral wheezing.
Skin: Skin is warm and dry. No rashes.
               Case 2:20-cr-00151-ODW Document 21-1 Filed 04/24/20 Page 5 of 7 Page ID #:56
   Nursing note and vitals reviewed.

   ASSESSMENT and PLAN:
   Jessie Debora is a 26 year old male with:

   DIAGNOSES:
   BRONCHITIS (primary encounter diagnosis)
   VACCINATION FOR INFLUENZA


   Bronchitis: Take medications as directed. Recheck for fever >101, Shortness of breath, or if symptoms worsen.

   ORDERS:
   Orders Placed This Encounter
   • VACC INFLUENZA 6 MOS-ADULT, QUADRIVALENT, PRES FREE, 0.5 ML IM
   FLUARIX PF Quadrivalent 6 mo+,0.5 mL intramuscular (IM).
   • Albuterol 2.5 mg /3 mL (0.083 %) Neb Soln 2.5 mg (PROVENTILA^ENTOLIN)
   • Albuterol (PROVENTIL/VENTOLIN) 2.5 mg /3 mL (0.083 %)Inhl Neb Soln
   Sig: Use 1 vial via nebulizer every 4 hours as needed for shortness of breath or wheezing
   Dispense: 75
   Refill: 0
   Order Specific Question: Is this medication for a workers' compensation condition?
   Answer: No
   • Azithromycin (ZITHROMAX)250 mg Oral Tab
   Sig: Take 2 tablets by mouth on Day 1, then 1 tablet daily on Days 2 through 5
   Dispense:6
   Refill: 0
   Order Specific Question: Is this medication for a workers' compensation condition?
   Answer: No
   • Ibuprofen (MOTRIN)600 mg Oral Tab
   Sig: Take 1 tablet by mouth every 8 hours as needed for pain . Take with food
   Dispense: 30
   Refill: 0
   Order Specific Question: Is this medication for a workers' compensation condition?
   Answer: No


   "Med risks/ benefits/ alternatives/ side effects discussed. Patient verbalized understanding, all questions answered satisfactorily.
   "Return to Clinic as needed if symptoms not improving; to emergency department if symptoms severe.

   FOLLOW-UP: PRN


   Electronically signed by:
   A M AGUILUZ DUBON MD
   9/4/2019
   10:31 PM



   Electronically signed by A M AGUILUZ DUBON MD, M.D. at 09/04/2019 10:31 PM PDT

   Plan of Treatment - documented as of this encounter
   Not on file


   Results - documented in this encounter
   Not on file


^ Visit Diagnoses - documented in this encounter
   Diagnosis
   BRONCHITIS - Primary
   VACCINATION FOR INFLUENZA
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                                            UNITED STATES DISTRICT COURT
                                           CENTRAL DISTRICT OF CALIFORNIA

                                                CRIMINAL MINUTES - GENERAL




 Case No.          CR 20-00151-ODW                                                                Date    April 23,2020


 Present; The Honorable          OTIS D. WRIGHT II, UNITED STATES DISTRICT JUDGE

 Interpreter

                Sheila English                             n/a                                               n/a
                Deputy Clerk                     Court Reporter/Recorder                           Assistant U.S. Attorney



                 U.S.A. V. DcfcndantCs):          Present Ciist. Bond           Attorneys for Defendants:          Present App. Ret.

Jessie Debora                                       Not     X              Victor Sherman                              Not              X




 Proceedings:        (IN CHAMBERS)NOTICE TO ALL PARTIES AND ORDER
           On the Court's own motion pursuant to the Speedy Trial Act, 18 U.S.C. § 3161(h)(7)(A), the Court finds as
follows.


       Such a continuance is necessary due to the unprecedented public health pandemic caused by the impact of
COVID-19, also known as "Coronavirus," on the population of the Central District of California. Public health experts
from the Centers for Disease Control and the local County Public Health Departments have advised social distancing
must be implemented as well as restrictions of public gatherings to no more than 10 people. In addition, a "stay-at-
home" edict from the Governor of the State of California make it impossible to empanel a jury for the foreseeable
future. In light of this guidance, the Court continues the jury trial in this matter as it is not possible to call a jury venire for
this case without violating the prohibitions on large group gatherings suggested by the Governor of the State of
California, public health experts, as addressed by the Court's General Order Nos. 20-02 and 20-03. To do otherwise
would imperil the health and safety of the jury venire, the parties, and Court staff.

           Accordingly, the Court finds good cause for a finding of excludable time pursuant to the Speedy Trial Act, 18
U.S.C. Section 3161(h)(7)(A) and:(1) the ends of justice served by the continuance outweigh the best interest of the
public and defendant in a speedy trial; and (2)failure to impose the continuance would likely make a continuation of the
proceeding impossible or result in a miscarriage of justice.

         The trial date in this matter is continued to September 15,2020 at 9:00 a.m.


IT IS SO ORDERED.

                                                                                                                   :         00

                                                                       Initials of Deputy Clerk             se




CR-11 (10/08)                                     CRIMINAL MINUTES ■ GENERAL                                                      Page 1 of 1
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   April 18,2020

   To:      Judge(Your Honor)& Attorney

   Re:      Jesse Debora



   I am a Foreman here at California Hi-Tech Floors, Inc. which is located at 138 S. 2"'' Avenue, Upland,
   CA 91786- which is the company that Jesse Debora is currently an employee at. He began working
   for our company in February 2019. During this time Jesse has excelled in his training,jobs and any
   tasks given. He has continued to work for our company and has an excellent track record with us. He
   is punctual and has an excellent attendance record. He has only missed a few days of work due to
   some respiratory issues.



   Jesse is valuable to our company and has surpassed all our expectations with training and job
   performance. He continues to work hard everyday along with continuing his training and is well on his
   way to become an excellent and certified Journeyman -a career job that will allow him many
   opportunities in his future.Jesse is a young man who carries himself very well, he is intelligent,
   punctual, respectful, hardworking,good with his hands and has an eagerness to learn,to work and to
   also go above and beyond. All these qualities make him one of our best employees. Our company has
   missed him at work and while we have been picking up the slack for him being gone,there is plenty of
   work for him and just as soon as he is able to get back to work- his job is here waiting for him.


   Thank you for taking the time to read this letter and taking it into deep consideration when making
   your decision on the temporary release of Jesse Debora, until further court hearings and appearances.
   If you have any questions about this letter or need any additional information, please do not hesitate
   to contact me at the phone number below and I will be happy to assist in any way possible. Thank you
   again.



   Warm Regartls,^               ^

              - e-9-9^-00^^
